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 14
                          UNITED STATES DISTRICT COURT
 15
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
 16
 17   LIVE NATION ENTERTAINMENT,              CASE NO. 2:21-CV-00862
      INC.,
 18
 19               Plaintiff,                  COMPLAINT FOR:
 20                                           1) DECLARATORY RELIEF
            v.
 21                                           2) BREACH OF CONTRACT
      FACTORY MUTUAL INSURANCE
 22   COMPANY,                                JURY TRIAL DEMANDED
 23
                  Defendant.
 24                                           [Exhibit 1, Exhibit 2]
 25
 26
 27
 28
                                                                         COMPLAINT
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                       EXHIBIT 1




                                     26
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Venue                                City                   State
Comerica Theater                     Phoenix                 AZ

Van Buren                            Phoenix                 AZ

HOB Garden Walk                      Anaheim                 CA

The Magnolia                         El Cajon                CA

Echoplex                             Los Angeles             CA

Belasco Theater                      Los Angeles             CA

Wiltern                              Los Angeles             CA

Hollywood Palladium                  Los Angeles             CA

Riverside - Fox                      Riverside               CA

Riverside - Muncipal Auditoirum      Riverside               CA

Ace of Spades                        Sacramento              CA

Punch Line Comedy Club - Sac         Sacramento              CA

HOB San Diego                        San Diego               CA

The Observatory - San Diego          San Diego               CA

Nob Hill Masonic Center              San Francisco           CA

The Fillmore - SF                    San Francisco           CA

Punch Line Comedy Club -SF           San Francisco           CA

Cobb's Comedy Club - SF              San Francisco           CA

The Observatory - Orange County      Santa Ana               CA

The Fillmore Auditorium - Denver     Denver                  CO

Summit Music Hall                    Denver                  CO

Marquis                              Denver                  CO

Oakdale Theater                      Wallingford             CT

Warner Theatre                       Washington              DC

Queen                                Wilmington              DE

HOB Orlando                          Lake Buena Vista        FL



                                   Theaters Clubs                   Exhibit 1 | Page 1 of 3
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Venue                                   City                 State
Fillmore Miami Beach                    Miami Beach           FL

Roxy Ballroom                           Atlanta               GA

Tabernacle                              Atlanta               GA

Buckhead Theatre                        Atlanta               GA

Aragon Ballroom                         Chicago               IL

HOB Chicago                             Chicago               IL

Murat Theater                           Indianapolis          IN

Mercury Ballroom                        Louisville            KY

Louisville Palace Theater               Louisville            KY

HOB New Orleans                         New Orleans           LA

Fillmore New Orleans                    New Orleans           LA

Brighton Music Hall                     Allston               MA

Orpheum_Crossroads Presents, LLC        Boston                MA

Orpheum Theatre                         Boston                MA

HOB Boston_Crossroads Presents, LLC     Boston                MA

Paradise_Crossroads Presents, LLC       Boston                MA

Fillmore Silver Spring                  Silver Spring         MD

Fillmore Detroit                        Detroit               MI

St. Andrews Hall                        Detroit               MI

20 Monroe Live                          Grand Rapids          MI

Varsity Theatre                         Minneapolis           MN

Fillmore Minneapolis                    Minneapolis           MN

Fillmore Charlotte                      Charlotte             NC

Ritz                                    Raleigh               NC

HOB Las Vegas                           Las Vegas             NV

Gramercy Theatre                        New York              NY



                                      Theaters Clubs                 Exhibit 1 | Page 2 of 3
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Venue                                 City                   State
Irving Plaza                          New York                NY

Westbury Theater                      Westbury                NY

Bogart's                              Cincinnati              OH

HOB Cleveland                         Cleveland               OH

Fillmore Philadelphia                 Philadelphia            PA

Theater of the Living Arts            Philadelphia            PA

Punch Line Comedy Club - Philly       Philadelphia            PA

The Met, Holy Ghost                   Philadelphia            PA

Tower Theater                         Upper Darby             PA

HOB Myrtle Beach                      N. Myrtle Beach         SC

Dallas HiFi                           Dallas                  TX

HOB Dallas                            Dallas                  TX

HOB Houston                           Houston                 TX

Revention Music Center                Houston                 TX

Aztec Theatre                         San Antonio             TX

Depot                                 Salt Lake City          UT

Sylvee                                Madison                 WI




                                    Theaters Clubs                   Exhibit 1 | Page 3 of 3
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                       EXHIBIT 2




                                     30
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Venue                                         Street Address              City                 State      Zip
Oak Mountain Amphitheatre                     1000 Amphitheatre Rd.       Pelham                AL       35124

Ak-Chin Pavilion                              2121 North 83rd Ave.        Phoenix               AZ       85035

Cricket Wireless Amphitheatre                 2050 Otay Valley Rd.        Chula Vista           CA       91911

Concord Pavilion                              2000 Kirker Pass Rd.        Concord               CA       94521

Glen Helen Amphitheater                       2575 Glen Helen Pkwy.       Devore                CA       92407

FivePoint Amphitheater                        14800 Chinon                Irvine                CA       92618

Shoreline Amphitheater                        One Amphitheatre Pkwy.      Mountain View         CA       94043

Nob Hill Masonic Center                       1111 California St.         San Francisco         CA       94108

The Fillmore - SF                             1805 Geary Blvd.            San Francisco         CA       94115

Toyota Amphitheatre                           2677 Forty Mile Rd.         Wheatland             CA       95692

The Fillmore Auditorium - Denver              1510 Clarkson St.           Denver                CO       80218

The XFINITY Theatre                           61 Savitt Way               Hartford              CT       06120

Klipsch Amphitheater at Bayfront Park         301 N Biscayne Blvd.        Miami                 FL       33132

MIDFLORIDA Credit Union Amphitheatre          4802 US 301 North           Tampa                 FL       33610

Coral Sky Amphitheatre                        601-7 Sansbury's Way        West Palm Beach       FL       33411

Verizon Wireless Ampitheater at Encore Park   2200 Encore Parkway         Alpharetta            GA       30009

Roxy Ballroom                                 800 Battery Ave. SE         Atlanta               GA       30339

Aaron's Amphitheater at Lakewood              2002 Lakewood Way           Atlanta               GA       30315

State Bank Amphitheatre at Chastain Park      4469 Stella Dr. NE          Atlanta               GA       30342

Wolf Creek Amphitheater                       3025 Merk Rd SW             College Park          GA       30349

Aragon Ballroom                               1106 W Lawrence Ave         Chicago                IL      60640

Huntington Bank Pavilion                      1300 South Lynn White Dr.   Chicago                IL      60605

Hollywood Casino Amp. - Tinley Park           19100 South Ridgeland       Tinley Park            IL      60477

The Lawn at White River State Park            9100 Keystone Crossing      Indianapolis          IN       46240

Ruoff Home Mortgage Music Center              12880 East 146th St.        Noblesville           IN       46060



                                                   Amphitheaters                            Exhibit 2 | Page 1 of 3
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Venue                                     Street Address                City                  State      Zip
Rockland Trust Bank Pavilion              290 Northern Ave.             Boston                MA        02210

Xfinity Center                            885 South Main St.            Mansfield              MA       02048

MECU Pavilion                             731 Eastern Ave.              Baltimore              MD       21202

Hollywood Casino Amphitheatre-St. Louis   14141 Riverport Dr.           Maryland Heights       MO       63043

PNC Music Pavilion (Charlotte)            707 Pavilion Blvd.            Charlotte              NC       28262

Time Warner Cable Uptown Amphitheatre     1000 Seaboard St.             Charlotte              NC       28206
Charlotte
Walnut Creek Amphitheatre                 3801 Rock Quarry Rd.          Raleigh                NC       27610

Bank of New Hampshire Pavilion            72 Meadowbrook Ln.            Gilford                NH       03249

BB&T Pavilion                             1 Harbour Blvd.               Camden                 NJ       08103

PNC Bank Arts Center                      Exit 116 Garden State Pkwy.   Holmdel                NJ       07733

Isleta Amphitheater                       5601 University Blvd. SE      Albuquerque            NM       87105

Coney Island Ampitheater                  3052 W. 21st Street           Brooklyn               NY       00000

Darien Lake Performing Arts Center        9993 Allegheny Rd.            Darien Center          NY       14040

Saratoga Performing Arts Center           108 Avenue of the Pines       Saratoga Springs       NY       12866

Nikon at Jones Beach Theater              1000 Ocean Pkwy.              Wantagh                NY       11793

Jacobs Pavilion at Nautica                2014 Sycamore St              Cleveland              OH       44113

Blossom Music Center                      1145 West Steels Corners Rd. Cuyahoga Falls          OH       44223

KeyBank Pavilion                          P.O. Box 431 Route 18 at      Burgettstown           PA       15021
                                          Route 22
The Pavilion at Montage Mountain          1000 Montage Mountain Rd.     Scranton               PA       18507

Nashville Ampitheater                     301 1st Ave                   Nashville              TN       37201

Dos Equis Pavilion                        1818 1st Ave.                 Dallas                 TX       75210

Irving Music Factory                      300 W. Las Colinas Blvd,      Irving                 TX       75039

Cynthia Woods Mitchell Pavillion          2005 Lake Robbins Way         The Woodlands          TX       77380

USANA Amphitheatre                        466 South 400 East, Suite 200 Salt Lake City         UT       84111

Jiffy Lube Live                           7800 Cellar Door Dr.          Bristow                VA       20136



                                              Amphitheaters                                Exhibit 2 | Page 2 of 3
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Venue                                      Street Address            City                State      Zip
Veterans United Home Loans Amphitheatre at 3350 Cellar Door Way      Virginia Beach       VA       23456
Virginia Beach
White River Amphitheater                   40601 Auburn Enumclaw Rd. Auburn               WA       98092

The Gorge Amphitheater                    754 Silica Rd. NW          George               WA       98824

Alpine Valley Music Theatre               2699 Highway D             East Troy            WI       53120




                                              Amphitheaters                           Exhibit 2 | Page 3 of 3
                                                   33
